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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

MANCHA, et al.,         |
                        |
            Plaintiffs, |
                        |
            vs.         |                    1:06-CV-02650-TWT
                        |
                        |
IMMIGRATION AND CUSTOMS |
ENFORCEMENT, et al.,    |
                        |
            Defendants. |


PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
          MOTION FOR A PROTECTIVE ORDER


      Plaintiffs seek a limited protective order under Fed.R.Civ.P. 26(c) and

30(d) prohibiting inquiry by defendants into the immigration status or

immigration history of witnesses and allowing certain witnesses to proceed

pseudonymously. Specifically, the Plaintiffs request that this Court issue a

protective order prohibiting Defendants from: (1) engaging in any inquiry,

discovery, or investigations of witnesses’ past or present immigration status;

(2) engaging in any inquiry, discovery, or investigations into evidence

related to the actual residence, or past or present place of work, or other

information that would identify individuals testifying pseudonymously; (3)

taking any enforcement actions against any individuals as a result of


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information gained through this litigation. In addition, Plaintiffs request that

this Court grant the protective order to limit the oral testimony of certain

non-citizen witnesses to telephonic depositions, rather than in-person

depositions, and that those non-citizen witnesses be permitted to proceed

pseudonymously.


                              BACKGROUND

      This action challenges a series of raids conducted by federal

immigration authorities in the Southeast region of Georgia over the course of

a two week period in September of 2006. Plaintiffs allege that, in violation

of the Fourth and Fifth Amendments of the U.S. Constitution, federal agents

entered and searched private homes without any lawful authority to do so,

detained and interrogated people merely because they looked “Mexican,”

used excessive and wholly unnecessary force against some of the persons

they detained, and destroyed private property without cause.

      Several Plaintiffs and witnesses were physically assaulted by the

Defendants and/or intimidated by their use of force when they were

unlawfully detained. For example, Plaintiff Perez was physically attacked

outside of his home by one of the Defendants, who grabbed him by the front

of the shirt, jammed a gun into his side and threw him against his truck

while twisting his arm behind his back. See Ex 1, Affidavit of Ranulfo

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Perez ¶ 4. Similarly, Plaintiff Mancha entered her living room to find five

Defendants had broken into her home and at least one of the Defendants had

his hand on his gun as if he was ready to take it out at any minute. See Ex 2,

Affidavit of Marie Justeen Mancha ¶ ¶ 3-5. Affiant Refugio Gudino had his

car blocked in by four Defendants who parked their car perpendicularly in

front of his, got out of the car and quickly approached his car with their

hands on their guns as if they were going to pull them out at any moment.

Ex. 3 (Gudino Aff. ¶ 2).

      Additional individuals who have been identified by Plaintiffs in their

Initial Disclosures by pseudonym were witnesses to intimidation tactics and

the use of force used by Defendants. Affiant “M” witnessed several

Defendant ICE agents kick in a trailer door, enter without asking for

permission, and physically push three Latina women out of the trailer. Ex. 4

(M. Aff. ¶ 6). Affiant “D” witnessed several Defendants with their guns

drawn during a raid at his trailer park. Affiant D saw one of the Defendants

pointing a gun at the window of a small car parked outside his trailer and

also witnessed a Defendant break one of his bedroom windows by hitting it

with the butt of a gun. Ex. 5 (D. Aff. ¶¶ 4, 7). Neither of these witnesses is

willing to come forward to tell his story in the absence of a protective order.




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      Collectively, these acts of force and intimidation by the Defendants

had the effect of terrorizing the Latino community of Southeast Georgia.

Since the incidents in September 2006, many Plaintiffs and witnesses have

suffered from nightmares and anxiety from the trauma of the events. See,

e.g., Ex. 4 (M. Aff. ¶ 8) (“For a few months after the incidents…I was

unable to sleep. I have had head aches from the stress of what I saw that day

in the trailer park. I still have nightmares from what I saw that day. I feel

the incidents have caused me irreparable harm and that my nightmares will

bother me until the last days of my life.”). Children and minors were also

present during these raids and witnessed acts which left them intimidated

and afraid of law enforcement generally, and the Immigration and Customs

Enforcement agency in particular. Plaintiff Mancha, a teenager, was

extremely frightened when she found the Defendants had entered her home

without permission and upon seeing at least one of them with their hand on

their gun. Ex 2 (Mancha Aff. ¶ 5) Affiant M’s son has nightmares about the

Defendants. Ex 4. (M. Aff. ¶ 8). Affiant Gudino’s son, who was 8 years

old at the time of the raids, was traumatized when the Defendants

surrounded his father’s car with their hands on their guns. Since the

incident, his son is afraid of quick movements and of the police. (Gudino

Aff. ¶ 7).



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       The trauma and fear caused by these raids has discouraged witnesses

from coming forward to testify about what they saw. Potential witnesses

reasonably believe that the Defendants – who have the legal power to arrest

and initiate removal proceedings against them -- will retaliate if they

participate in this case. Affiants M and D, for example, have expressed

concerns that the Defendants will return and terrorize their family and

community again. They also fear that they will be targeted by the

Defendants for telling their stories. Ex. 4 (M Aff. ¶ 9); Ex. 5 (D Aff. ¶ 9).

Other witnesses are also afraid to testify or speak to anyone about what they

saw during the raids. Ex. 4 (M Aff. ¶ 10). Even witnesses who are legal

permanent residents are afraid to testify about what they saw because they

are worried that the Defendants will retaliate against them. Ex. 3 (Gudino

Aff. ¶ 9 ).

       Based on these facts, a protective order limiting inquiry into

immigration status and immigration history and protecting the identity of

certain witnesses is necessary to protect Plaintiffs and witnesses from

unnecessary intimidation and humiliation, protect them from retaliation by

the Defendants, and to ensure that Plaintiffs’ claims will be heard. Plaintiffs

have listed 6 potential witnesses, including M and D, as John Does 1-4 and




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Jane Doe 1-2 on their Initial Disclosures, pending resolution of this

Protective Order motion. The John Does include Affiants M and D.

      Pursuant to Fed. R. Civ. P. 26(c) ,Plaintiffs have attempted to reach an

agreement with Defendants regarding a mutually acceptable protective order

in this matter; however, the parties have been unable to reach such an

agreement. Because these discussions have been futile, Plaintiffs have no

recourse but to petition this Court to rule on this matter.

                                  ANALYSIS


I.    The Court Has Broad Power to Grant Protective Orders as the
      Interest of Justice Requires.

      The Court has the broad authority to issue protective orders pursuant

to Fed. R. Civ. P. 26(c) and 30(d). Rule 30(d) provides that if a deposition

“is being conducted in bad faith or in such manner as unreasonably to annoy,

embarrass, or oppress the deponent or party, the court…may limit the scope

and manner of the taking of the deposition as provided in Rule 26(c).” Fed.

R. Civ. P. 30(d)(4). Rule 26(c) provides in relevant part that to “protect a

party or person from annoyance, embarrassment, oppression or undue

burden or expense” the Court may take measures to ensure that certain

“disclosure or discovery not be had ” Fed. R. Civ. P. 26(c)(1). Courts are

also permitted to limit disclosure or discovery to “specified terms or



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conditions.” Fed. R. Civ. P. 26(c)(2). Finally, the court may, upon a

showing of good cause by the moving party, make an order “that certain

matters not be inquired into….” Fed. R. Civ. P. 26(c)(4).

      Courts have repeatedly recognized “the power to enter protective

orders limiting discovery as the interests of justice require.” Degen v.

United States, 517 U.S. 820, 826 (U.S. 1996), superseded by statute, Civil

Asset Forfeiture Reform Act, 18 U.S.C. § 893 (2000). The Supreme Court

has stated that “[t]he unique character of the discovery process requires that

the trial court have substantial latitude to fashion protective orders,” and thus

that “Rule 26(c) confers broad discretion on the trial court to decide when a

protective order is appropriate and what degree of protection is required.”

Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (U.S. 1984); see also, In re

Alexander Grant & Co. Litigation, 820 F.2d 352, 357 (11th Cir. 1987) (“[a]

district court has broad discretion when fashioning protective orders.”).

      Many courts have granted orders similar to the one Plaintiffs seek in

this Motion in order to protect the moving party from intimidation and

harassment and to ensure that they can pursue their legal rights. See, e.g.,

Lozano v. City of Hazelton, 239 F.R.D. 397 (M.D. Pa. 2006) (granting an

order protecting the identity and immigration status of Doe plaintiffs based

on fear of removal, fear of becoming targets of anti-immigrant sentiment in



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the community, and the court’s concern that such fear would cause plaintiffs

to abandon the suit); Lozano v. City of Hazelton, 496 F. Supp. 2d. 477, 105

(M.D. Pa. 2007) (permitting plaintiffs to proceed pseudonymously to allow

them to avoid harassment, intimidation, and to prevent plaintiffs from

abandoning assertion of their rights); Rivera v. NIBCO, Inc., 364 F.3d 1057,

1075 (9th Cir. 2004) (upholding protective order granted by the district court

prohibiting all discovery into plaintiff’s immigration status because of the

chilling effect such discovery could have upon the ability of such plaintiffs

to effectuate their rights).

II.    Plaintiffs Can Show Good Cause for a Protective Order Prohibiting
       Inquiry into Witnesses’ Immigration Status and Other Information and
       Prohibiting Enforcement Actions As a Result of Information Gained
       Through This Lawsuit.


       Pursuant to Fed. R. Civ. P 26(c), the party seeking a protective order

must show good cause. Federal courts have used a balancing-of-interest

approach to determine whether good cause exists. Farnsworth v. Procter &

Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985). “This standard requires

the district court to balance the party'
                                       s interest in obtaining access against the

other party'
           s interest in keeping the information confidential.” Chi. Tribune

Co. v. Bridgestone/Fires one, Inc., 263 F.3d 1304, 1313 (11th Cir. 2001); see

also Williams v. Art Inst., 2006 U.S. Dist. LEXIS 62585, at *35 (N.D. Ga.



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2006) (“To determine good cause, federal courts have imposed a balancing

the interests approach such that courts balance the non-movant'
                                                              s interest in

obtaining the information against the movant'
                                            s interest in keeping the

information private.”).

        Here, Plaintiffs’ interest in keeping confidential the immigration

status and history of witnesses far outweighs the Defendant’s interest in

inquiring into these matters. Likewise, Plaintiffs’ interest in keeping

anonymous the identities of certain witnesses and limiting their depositions

to telephonic appearances is far greater than Defendants’ interest in knowing

those identities and their need to depose them in person.

        Plaintiffs, seek to prevent discovery of this information in order to

protect witnesses from harassment and intimidation and to avoid the in

terrorem effect that will result if this information is revealed. The protective

order is also needed to prevent retaliation, including arrest, detention and

deportation from the United States. Denial of a protective order is likely to

cause some witnesses to decline to provide testimony in the lawsuit. At the

same time, this information sought to be protected is irrelevant to the

constitutional claims raised by Plaintiffs and witnesses. Thus, in balancing

of the parties’ interests, the Court should grant the protective order Plaintiffs

seek.



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      A. Disclosure of Highly Sensitive Immigration Status and History
      of Witnesses Are Will Embarrass, Harass, and Intimidate Them

      In issuing protective orders in cases similar to this one, courts have

recognized that immigration status is a matter of private interest, the

discovery of which is often intended to, or has the effect of, embarrassing,

intimidating or harassing a party. In EEOC v. First Wireless Group, Inc., the

court upheld an order protecting plaintiff’s immigration status from

discovery, in part because “[i]mmigration status discovery in cases where

plaintiffs are possibly undocumented is a very sensitive area of inquiry” and

“[d]iscovery of immigration status…is a potential weapon for harassing and

intimidating individuals.” 2007 U.S. Dist. LEXIS 11893, at *8-9 (E.D.N.Y.

2007). In In re Reyes, the Fifth Circuit held that the district court had erred

in ordering discovery into plaintiffs’ immigration status in part because of

the “embarrassment and inquiry into their [plaintiffs] private lives which

was not justified….” 814 F.2d 168, 171 (5th Cir. 1987), cert. denied, 489

U.S. 1011 (1989). In Avila-Blum v. Casa De Cambio Delgado, Inc., the

court notes that inquiry into plaintiff’s immigration status causes a

“substantial social burden…on the individual involved.” 236 F.R.D. 190, at

*192 (S.D.N.Y. 2006); see also, Rengifo v. Erevos Enterprises, Inc., 2007

U.S. Dist. LEXIS 19928, at *4 (S.D.N.Y 2007) (“discovery of [immigration




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status] would have an intimidating effect on an employee’s willingness to

assert his workplace rights.”).


       B. The Proposed Protective Order Would Safeguard Witnesses
       from Significant and Irreparable Harm

       Many courts have recognized that allowing discovery into

immigration status has a chilling effect on the ability of both documented

and undocumented immigrants to pursue their legal rights. In Rivera v.

NIBCO, Inc., the court noted that “[g]ranting employers the right to inquire

into workers’ immigration status in cases like this would allow them to raise

implicitly the threat of deportation and criminal prosecution every time a

worker, documented or undocumented, reports illegal practices….” 364 F.3d

1057, 1065 (9th Cir. 2004). In Topo v. Dhir, the court found that plaintiff’s

fear of inquiry into her immigration status was “well-founded,” and thus

held that the “potential danger of deterring plaintiff from having her day in

court by inquiring into a non-relevant matter such as her immigration status

is precisely the type of ‘oppression’ Rule 26(c) was designed to prevent.”

210 F.R.D. 76, 78-79 (S.D.N.Y 2002).1 Here, the fear of retaliation is even


       1
          See also Galaviz-Zamora v. Brady Farms, Inc., 230 F.R.D. 499, 502 (W.D.
Mich. 2005) (“merely requesting information regarding the employees'immigration
status had demonstrable (and prejudicial) effect.”) (citation omitted); Liu v. Donna Karan
Int’l, Inc., 207 F. Supp. 2d 191, 193 (S.D.N.Y. 2002) (denying Defendant’s request for
discovery into plaintiff’s immigration status, noting that even if there was a
confidentiality agreement “there would still remain the danger of intimidation, the danger

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more compelling, given that the Defendants themselves are the agency and

its agents charged with arresting, detaining, and deporting undocumented

persons. Some courts have noted that the chilling effect of discovery into

immigration status may even deter documented immigrants from pursuing

their employment and civil rights. See, e.g., Rivera, 364 F.3d at 1065

(“Even documented workers may be chilled by the type of discovery at issue

here. Documented workers may fear that their immigration status would be

changed….Any of these individuals, failing to understand the relationship

between their litigation and immigration status, might choose to forego civil

rights litigation.”). Indeed, potential witnesses in this case are reluctant to

testify for fear that they will jeopardize their immigration status, despite the

fact that they are documented immigrants. See Ex. 3 (Gudino Aff. ¶ 1, 9) (“I

am a legal permanent resident…. I have talked to many other Latinos in my

community, both people who are legal residents and people who are


of destroying the cause of action and would inhibit plaintiffs from pursuing their rights.”)
(citation omitted); Flores v. Albertsons, Inc., 2002 U.S. Dist. LEXIS 6171, at *20 (C.D.
Cal. 2002) (“there is an in terrorem effect to the production of such documents. It is
entirely likely that any undocumented class member forced to produce documents related
to his or her immigration status will withdraw from the suit rather than produce such
documents and face…potential deportation.”); EEOC v. City of Joliet, 239 F.R.D. 490,
493 (N.D. Ill. 2006) (“The intimidating effect of such conduct [inquiry into immigration
status] is hard to exaggerate. This step alone might be sufficient to end the lawsuit
regardless of the merits of the case.”); De La O v. Arnold-Williams, 2006 U.S. Dist.
LEXIS 76816, at *10 (E.D. Wash. 2006) (“The Court finds compelling the concern…that
requiring the Plaintiffs to disclose their immigration status would cause a chilling effect
on similar civil rights actions.”).


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undocumented, who…were witnesses to the raids in the Stillmore are in

September 2006. Many of these people are afraid to come forward and

testify about what they saw for fear that they will be retaliated against by the

Defendants. I think it is important for the court to hear my testimony and for

this reason I have provided this affidavit.”).

      Allowing discovery into the immigration status or history of witnesses

in this case will only serve to harass and intimidate them, thereby deterring

them from testifying or further participating in this case. See Ex. 4 (M Aff. ¶

9) (“I am worried that my family and I could be targeted by the Defendants

for telling my story in this form … I am afraid of retaliation from the

Defendants and I do not feel comfortable participating in this case without a

guarantee that I will not be targeted.”).


      C. The Information Sought to Be Protected in this Motion is
      Irrelevant to the Determination of Whether Plaintiffs’ and
      Witnesses’ Rights Were Violated

      Courts have consistently found immigration status irrelevant to the

assertion of rights under federal employment and labor statutes, and have

issued protective orders preventing inquiry of that nature. In re Reyes, 814

F.2d at 171 (Fair Labor Standards Act case where the court issued a writ of

mandamus to restrain the trial court from compelling discovery on the

plaintiffs’ immigration status); Cortez v. Medina’s Landscaping, 2002 U.S.


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Dist. LEXIS 18831, at *2-3 (N.D. Ill. 2002) (denying motion to compel

immigration status information because such status was not relevant to the

Fair Labor Standards Act claims at issue); Topo, 210 F.R.D. at 79 (granting

protective order and noting that “at best, plaintiff’s immigration status is a

collateral issue not relevant to any material aspect of the case.”); Flores v.

Amigon, 233 F. Supp. 2d 462, 464-65 (E.D.N.Y. 2002) (granting protective

order because discovery related to Plaintiff’s immigration status was not

relevant and “even if it were, the potential for prejudice far outweighs

whatever minimal probative value such information would have.”).

       Courts have similarly held that immigration status is not relevant to

the assertion of rights under Title VII of the Civil Rights Act of 1964, and

have issued protective orders prohibiting inquiry into such matters. Rivera,

364 F.3d at 1075 (upholding protective order granted by the district court

because immigration status was not “relevant to the determination [of]

whether a defendant has committed national origin discrimination under

Title VII.”); First Wireless Group, Inc., 2007 U.S. Dist. LEXIS 11893 at *13

(denying defendant’s motion to set aside a protective order prohibiting

discovery into immigration status because such information was not relevant

at the liability state of the litigation).




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      Even where courts have determined that immigration status may be

relevant, they have granted protective orders where the “chilling” or “in

terrorem” effect of inquiring into the immigration status of a party

outweighs the probative value of the information sought in discovery. See,

e.g., First Wireless Group, Inc., 2007 U.S. Dist. LEXIS 11893 at *8 (“In

most cases…the in terrorem effect of the proposed inquiry outweighs the

probative valued of the discovery.”); Rivera, 364 F.3d at 1065 (“The chilling

effect such discovery [immigration status] could have on the bringing of

civil rights actions unacceptably burdens the public interest.”); Topo, 210

F.R.D. at 78 (S.D.N.Y. 2002) (“When the potential for abuse of procedure is

high, the Court can and should act within its discretion to limit the discovery

process, even if relevancy is determined.”).

      Here, Plaintiffs are seeking to vindicate their Fourth and Fifth

Amendment rights and to assert claims under the Federal Tort Claims Act

and are challenging the policies and practices of Defendant to prevent

egregious unconstitutional actions from reoccurring in their community.

Just as in the employment context, questioning into the identity, immigration

status or immigration history of witnesses will have a chilling effect on the

willingness of such witnesses to come forward and testify, and

consequentially Plaintiffs’ ability to effectively pursue their claims.



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      As the court noted when granting the protective order in Lozano, “this

case involves the constitutional and statutory rights asserted by the

plaintiffs…[t]his is not an action to enforce United States immigration

laws.” Id. at 10. The immigration status and history of witnesses has no

bearing on the constitutional rights asserted by Plaintiffs in this case and the

determination of whether Defendants violated the constitutional rights of

Plaintiffs and witnesses. The Court must thus enter a protective order to

protect the identities of witnesses and to ensure that participation in this suit

does not lead to enforcement actions by the Defendant.


II. Plaintiffs Can Show Good Cause for an Order Protecting the
    Identity of Witnesses

      Plaintiffs also seek to protect the identity of certain witnesses to allow

them to testify pseudonymously at their depositions. Specifically, Plaintiffs

seek to have certain non-citizen witnesses’ identities protected through filing

affidavits using pseudonyms, conducting telephonic depositions and

preventing Defendants’ inquiry, discovery, or investigations into any

documents, things, information and testimony containing information about

such anonymous witnesses’ actual residence, or present or past place of

work, or other information that would allow them to be identified.

      a. Permission to Proceed Pseudonymously is Discretionary



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       Courts may exercise discretion over whether to grant an individual

the opportunity to participate in a lawsuit using a pseudonym. Doe v.

Barrow County, 219 F.R.D. 189, 191 (N.D.G.A. 2003). Fed. R. Civ. P. 26,

which has been used to grant protective orders for the purpose of

maintaining anonymity, applies not only to a party to a lawsuit but also to

other “person[s] from whom discovery is sought.” Both parties and

witnesses have been allowed to participate in lawsuits using pseudonyms in

order to encourage them to give full and truthful testimony. See In re: Grand

Jury Proceedings vs. United States of America, 995 F. 2d. 1013, 1015 (11th

Cir 1993) (protective orders are necessary to allow witnesses the ability to

give uninhibited essential testimony in civil litigation) (citations omitted);

see also James v. Cecil, 6 F. 3d. 233, 242 (4th Cir. 1993) (discussing the

occasional need for federal courts to “yield” to a party or witness’ need to

participate in open trials anonymously).

         When making this determination, courts weigh the public’s interest

in obtaining complete information relating to the judicial proceedings

against the individual’s privacy interests. See Doe v. Stegall, 653 F. 2d. 180,

185 (5th Cir. 1981) (allowing Does to proceed under fictitious names after

balancing the privacy interests against the presumption of openness in

judicial proceedings). Circumstances under which protective orders have



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been granted have involved “matters of a highly sensitive and personal

nature, real danger of physical harm, or where the injury litigated against

would be incurred as a result of the disclosure of plaintiff’s identity.” Does

I-V v. Rodriguez, 2007 WL 684114 (D. Colo. 2007)(allowing plaintiffs to

proceed pseudonymously where they feared retaliation by defendants); See

also Does I-XXIII v. Advanced Textile Corp., 214 F. 3d 1058, 1068(9th Cir.

2000)(affirming that pseudonyms are permitted to protect from harassment,

injury, ridicule, or personal embarrassment)(citations omitted).

   Protective orders have been granted to allow individuals concerned about

their immigration status to proceed pseudonymously. “Courts have found

that plaintiffs could proceed anonymously because they fear that revealing

their true identities would lead to physical violence, deportation, arrest in

their home countries and retaliation against the plaintiffs’ families for

bringing suit.” Lozano, 496 F. Supp. 477 at 75. Courts have similarly held

that the general rules regarding parties’ anonymity apply equally to

witnesses. See e.g. James v. Jacobson, 6 F.3d 233, 242 (4th Cir. 1993)

(“Federal courts traditionally have recognized that in some cases the general

presumption of open trials--including identification of parties and witnesses

by their real names--should yield in deference to sufficiently pressing needs

for party or witness anonymity.”)



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       In sum, protective orders granting an individual to proceed

pseudonymously have been granted where defendants are not hindered and

the individual’s privacy rights outweigh the need for open judicial

proceedings. See Stegall, 653 F.2d. at 185; see also Advanced Textile Corp.,

214 F.3d 1058, 1069 (9th Cir. 2000) (reversing denial of motion to proceed

under fiction names because of plaintiffs’ reasonable fear of severe

retaliation; defendants were not prejudiced by not knowing the identities of

plaintiffs and the public interest in the case could be satisfied without

revealing plaintiff’s identities).

       Here, Plaintiffs are requesting permission to allow certain witnesses to

testify pseudonymously at their depositions. These witnesses are not

seeking to be joined as Plaintiffs in their individual capacities or to represent

the putative class. As such, Federal Rules that require plaintiffs to disclose

their names and concerns about First Amendment interests in ensuring the

openness of the judicial process to the public are not present here. See

Stegall, 653 F.2d at 185; Fed. R. Civ. P. 10(a).

       Fear of retaliation for testifying in this case is deep and

understandable. Non-citizen witnesses in this case are afraid that if their

identities are revealed, they will be targeted by Defendants for removal. See

Ex. 3 (D. Aff. ¶ 9) (“While I believe that it is important to tell the truth about



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what I saw, I am worried that the Defendants will come after my family and

me for having told what I saw during the raids in September.”); Ex. 4 (M.

Aff. ¶ 1) (“I have agreed to sign this affidavit anonymously because I fear

retaliation from immigration, ICE, who are some of the Defendants in this

lawsuit. I would not be comfortable signing this document if I had to

provide identifying information that would identify and locate me.”)

        Failure to permit these witnesses to use fictitious names would chill

their ability to participate in this case and to provide full and truthful

information regarding the facts surrounding the immigration raids at issue

here. Therefore, Plaintiffs request that this Court weigh the factors generally

considered when determining whether to allow individuals to proceed using

a pseudonym to determine whether to permit the proposed class members to

participate anonymously.

      b. Factors considered when granting anonymity

      No specific requirements dictate whether a Court should permit

anonymity. Stegall, 653 F. 2d. 180, 185 (5th Cir. 1981). Courts have,

however, have taken several factors into account when making this

determination. Those factors include whether:


          1) plaintiffs seeking anonymity were suing to challenge a
             government entity;



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          2) prosecution of the suit compelled plaintiffs to disclose
             information “of the utmost intimacy;” and
          3) plaintiffs were compelled to admit their intention to engage in
             illegal conduct, thereby risking criminal prosecution.

Id. In adopting the Stegall test, the Eleventh Circuit has stated that:

          [t]he enumerated factors in Stegall were not intended as a “rigid,
          three-step test for the propriety of party anonymity Nor was the
          presence of one factor meant to be dispositive. Instead, they were
          highlighted merely as factors deserving consideration. A judge,
          therefore, should carefully review all the circumstances of a given
          case and then decide whether the customary practice of disclosing
          the plaintiff'
                       s identity should yield to the plaintiff'
                                                               s privacy
          concerns.

Doe v. Frank, 951 F.2d 320 (11th Cir. 1992).

      1. Plaintiffs are Challenging a Government Entity

       Pursuant to 6 U.S.C. §252, the Bureau of Border Security [Bureau of

Immigration and Customs Enforcement] was created to perform or oversee

the functions delegated to it by the Secretary for Border and Transportation

Security. 6 U.S.C. §252(3)(a)(2007). Accordingly, this includes, but is not

limited to, performing all functions related to investigations, detentions and

removal. 6 U.S.C. §251(2007). The Defendants have the authority to

initiate the steps to have potential witnesses investigated, arrested, detained

and removed based on discovery of their identity alone.

      Witnesses who wish to testify in this matter have already been

terrorized and intimidated by Defendants in the actions alleged in the



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Complaint. They also witnessed specific acts of brutality and force by

Defendants. See Ex. 4 (M. Aff. ¶ 4-5) (“I saw a small car pull into the trailer

park with loud music…. One of the [defendant’s] cars spun a fast turn and

parked in front of the small car, blocking it there. Immediately one of the

Defendant ICE agents exited the unmarked car and walked quickly towards

the small car with a pistol in his hand…. A Latino man got out of the small

car and the Defendant pushed him into his unmarked car with his hands.

The Defendant continued to point his gun at the Latino man until he was in

the Defendant’s unmarked car.”); Ex. 5 (D. Aff. ¶ 6-7) (“For a few hours

that morning these people were knocking on the walls, doors, and windows

of my trailer…. One of the Defendant ICE agents knocked on the window so

hard that s/he broke it. I could see that the agent was knocking on the

window with the butt of the gun s/he was holding in his/her hand.”).

      Given potential witnesses’ fear of coming forward and participating in

this case for challenging governmental action, an order protecting the

identity of certain witnesses is necessary to ensure that the Court can hear

their testimony and be presented with the full merits of the case.

      2. Immigration Status Is Highly Intimate Information That Is
         Irrelevant To These Proceedings.

      Immigration status is a highly sensitive and intimate matter. Failure

to grant this protective order would put individuals at risk for harassment,

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backlash, intimidation, threats of harm and retaliation, embarrassment, and

humiliation. The district court recognized this point in Lozano, when it

found that the plaintiffs presented a “dire” need to remain anonymous due to

the intense public interest in the lawsuit and the risk of revealing sensitive

information like one’s immigration status. Lozano, 496 F. Supp. 2d 477 at

85. The impact on the witnesses’ “basic rights to shelter, education, and a

livelihood” as a result of revealing one’s immigration status are compelling

factors to merit proceeding anonymously. Id. at 81. Anonymity is necessary

in certain cases not only to protect an individual’s immigration status but

also to generally protect their identities as participants in the lawsuit. In fact,

the Court found in Lozano that anonymity was necessary because of the

“harassment and intimidation that created fear even among those with a

more secure social and legal status than the anonymous plaintiffs.” Id.

Failure to permit individuals to proceed anonymously will cause individuals

to abandon assertion of their rights if they are forced to reveal their identity.

Id.

      The instant case is even more compelling than the facts in Lozano,

where defendant was the local municipality. Here, the defendant is the U.S.

government, and the relevant defense witnesses are agents of Immigration




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and Customs Enforcement, the agency charged with enforcement of

immigration laws.

       The witnesses should also be permitted to give oral deposition

testimony telephonically. They will fear arrest by ICE agents if they appear

in person at the deposition. Therefore, the Plaintiffs request that this Court

allow certain witnesses to use pseudonyms and to testify via telephonic

depositions.


    3. Fear Of Civil And Criminal For Violation Of Immigration Laws
       Will Hinder Witness Participation.

       The final factor considered when granting anonymity relates to

whether an individual will be forced to reveal their intention to commit a

crime, thereby risking criminal prosecution. Stegall, 653, F. 2d. at 185.

Here, the threat of civil and criminal consequences for violating the

immigration laws of our country is sufficient to keep individuals from

participating as witnesses in this case.2

               Based on the above factors, certain witnesses should be

permitted to participate in this action pseudonymously and via a telephonic

depositions.


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  In addition to the three factors listed above, courts have also considered other factors,
such as age, motive of the moving party, and the legal nature of the case when deciding
whether to grant a protective order on these grounds. Stegall, 653 F. 2d 180 at 185; and
Lozano, 496 F. Supp. 477 at 79-103.

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III.   The Proposed Protective Order Is Narrowly Tailored to Limit
       Discovery Only to the Extent Necessary to Protect the Rights of
       Plaintiffs and Witnesses

       Plaintiffs recognize that the details surrounding particular encounters

between witnesses and Defendants are obviously relevant, and do not intend

to unreasonably limit questioning on those incidents. But the purpose of that

questioning should be to determine whether Plaintiffs’ rights were violated.

This motion seeks only to limit Defendants’ questioning of witnesses’

immigration status and immigration history, as well as to protect the identity

of certain witnesses.


                               CONCLUSION

       Plaintiffs seek to protect confidential information of witnesses. This

information is irrelevant to the determination of whether Plaintiffs’

constitutional rights were violated by the Defendants. If the information

sought to be protected is disclosed, there is a likelihood that witnesses will

become intimidated and fearful and will not participate in this lawsuit. Such

an outcome would prevent this Court from hearing the testimony of

important witnesses and hinder Plaintiffs’ ability to fully present their claims

to this Court.

       For the foregoing reasons, Plaintiffs respectfully request that this

Court grant Plaintiffs’ Motion for a Protective Order.

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Respectfully Submitted, 3


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 Pursuant to L.R. 7.1D, the undersigned certifies that this pleading complies
with the font and point selections permitted by L.R. 5.1B. This Motion was
prepared using the Times New Roman 14 point typeface.

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